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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Plaintiff, Case No. 2:11-cv-12422-AC-MKM
Vv. Hon. Avern Cohn

WILLIAM KEENE, JENNIFER KEENE,
MONICA LYNN LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF,
PERSONAL REPRESENTATIVE OF THE
ESTATE OF GARY LUPILOFF, DECEASED,

Defendants.
Michael F. Schmidt (P25213) John H. Bredeli (P36577)
Harvey Kruse, P.C. Bredell & Bredell
Attomey for Plaintiff Attorney for Defendants, William
1050 Wilshire Drive, Suite 320 & Jennifer Keene
Troy, Mi 48084 119 N. Huron Street
248-649-7800 Ypsilanti, MI 48197
734-482-5000
Albert L. Holtz (P15088)
ALBERT L. HOLTZ, P.C.
Attomey for Monica Lupiloff, Nicole Lupiloff
and Nicole Lupiloff Personal Representative
of the Estate of Gary Lupiloff, deceased
3910 Telegraph Road, Suite 200
Bloomfield Hills, MI 48146
ANSWER TO COMPLAINT FOR

INTERPLEADER AND DECLARATORY RELIEF
ON BEHALF OF DEFENDANT, WILLIAM KEENE
AND JENNIFER KEENE, AFFIRMATIVE DEFENSES
AND RELIANCE UPON JURY DEMAND
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ANSWER TO COMPLAINT FOR
INTERPLEADER AND DECLARATORY RELIEF
ON BEHALF OF DEFENDANT, WILLIAM KEENE
AND JENNIFER KEENE, AFFIRMATIVE DEFENSES
AND RELIANCE UPON JURY DEMAND
NOW COMES, Defendanis, William Keene and Jennifer Keene, by and through his
attomeys, Bredell & Bredell, and for its answers to Plaintiff's Complaint for Interpleader and
Declaratory Relief, states as follows:
1. Admitted.
Admitted.
Admitted.
Unable to admit or deny.
Unable to admit or deny.
Unable to admit or deny.

Admitted.
Admitted.

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The Keene Defendants deny that the insurance policy was procured by fraud.

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Admitted.

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Admitted.

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Admitted.

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Admitted.

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Unable to admit or deny.
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17. Unable to admit or deny.

18. Unable to admit or deny.

19. Unable to admit or deny.

20. Admitted.

21. Unable to admit or deny.

22. The Keene Defendants admit that Nationwide has refused to pay under the
terms of the policy.

23. Unable to admit or deny.

24. Unable to admit or deny.

25. The Keene Defendants admit that paragraph 25 correctly sets forth the law
but denies that the so called “slayer statute” would apply to the Keenes. .

26. The Keene Defendants admit that Plaintiff has correctly set forth Michigan
law but denies that this law applies to them.

27. Admitted.

28. Admitted.

29. The Keene Defendants deny that William Keene acted with any intent to
feloniously and intentionally kill Gary Lupiloff.

30. The Keene Defendants admit that the Plaintiff has correctly quoted its own
policy.

31. The Keene Defendants admit that the Plaintiff has correctly quoted its own

policy.
32. The Keene Defendants admit that the Plaintiff has correctly quoted its own

policy.
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33. William Keene denies that he feloniously and/or intentionally killed Gary
Lupiloff or was in any way involved in his death.

34. Admitted.

35. William Keene denies that he committed any fraud in obtaining an insurance
policy and further denies that he was in any way involved with the death of Gary Lupiloff.

36. Denied.

37. Paragraph 37 sets for the theory and strategy of Plaintiff, Nationwide Life
Insurance Company, and therefore, the Keenes are unable to admit or deny what was in
the corporate mind of Nationwide when it filed this complaint.

WHEREFORE, the Keenes request that the declaratory judgment filed by
Nationwide be denied and that Nationwide be ordered to pay the proceeds of the insurance
policy to William Keene.

Respectfully submitted:

si John H. B |
John H. Bredell (P36577)
Attorney for Plaintiff

119 North Huron Street
Ypsilanti, Ml 48197
(734) 482-5000

ibredeli@bredell.com
P36577

fi TIVE DEFENSES
NOW COMES Defendants, William and Jennifer Keene, by and through their
attorneys, Bredell & Bredell, and by way of affirmative defenses avers as follows:
1. Plaintiff has failed to state a claim upon which relief can be granted.
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2. Plaintiff has failed to set forth sufficient facts that the Keenes committed any

type of fraud.
3. Plaintiff has failed to set forth any facts that William Keene was involved in

the death of Gary Lupiloff.
4. Defendants, William and Jennifer Keene, reserve the right to plead such

additional affirmative defenses that may become known upon completion of discovery.

Respectfully submitted:

fsf John H, Bredell
John H. Bredell (P36577)
Attomey for Plaintiff

119 North Huron Street
Ypsilanti, Mi 48197
(734) 482-5000

b bredell.com
P36577

RELIANCE UPON JURY DEMAND

NOW COMES Defendants, William Keene and Jennifer Keene, by and through their
attorneys, BREDELL and BREDELL by John H. Bredell, and hereby rely upon the Jury
Demand previously filed by the Plaintiff and by the implied payment by Plaintiff of all
required fees.

isi_John H. Bredell
John H. Bredell
Attorney for Plaintiff

119 N. Huron Street
Ypsilanti, Michigan 48197
Phone: (734) 482-5000
E-mail: ell

P36577

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CERTIFICATE OF SERVICE

| hereby certify that on June 24, 2011, | electronically filed the foregoing paper
and alll exhibits with the Clerk of the Court, using the ECF system which will send
notification of such filing to the following: Michael F. Schmidt, Harvey Kruse, P.C., 1050
Wilshire Drive, Suite 320, Troy, MI 48084.

fs/_ John H. Bredell
John H. Bredell

Attomey for Plaintiff

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